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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

                                                    :
Ray Hermosura,                                      :
                                                    : Civil Action No.: ______
                        Plaintiff,                  :
        v.                                          :
                                                    :
Credit Acceptance Corporation,                      : DEMAND FOR JURY TRIAL
                                                    :
                        Defendant.                  :
                                                    :
                                                    :

                                COMPLAINT & JURY DEMAND

        For this Complaint, Plaintiff, Ray Hermosura, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Ray Hermosura (“Plaintiff”), is an adult individual residing in Dundalk,

Maryland, and is a “person” as defined by 47 U.S.C. § 153(39).

        4.      Defendant Credit Acceptance Corporation (“CAC”), is a Michigan business entity

with an address of 601 Abbot Road East, Lansing, Michigan 48823, and is a “person” as defined

by 47 U.S.C. § 153(39).
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                                                FACTS

          5.      Within the last year, CAC began calling Plaintiff’s cellular telephone, number

410-xxx-1156, using an automatic telephone dialing system (“ATDS” or “predictive dialer”)

and/or using an artificial or prerecorded voice.

          6.      When Plaintiff answered calls from CAC, he heard a prerecorded message.

          7.      In or around August 2018, Plaintiff requested that CAC cease all automated calls

to him.

          8.      In complete disregard of Plaintiff’s cease request, CAC continued to place

automated calls to Plaintiff’s cellular telephone number.

                                     COUNT I
                    VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, ET SEQ.

          9.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

          10.     At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

number using an ATDS or predictive dialer and/or using a prerecorded or artificial voice.

          11.     In expanding on the prohibitions of the TCPA, the Federal Communications

Commission (“FCC”) defines a predictive dialer as “a dialing system that automatically dials

consumers’ telephone numbers in a manner that “predicts” the time when a consumer will

answer the phone and a [representative] will be available to take the call…”2003 TCPA Order,

18 FCC 36 Rcd 14022. The FCC explains that if a representative is not “free to take a call that

has been placed by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or

a dial tone, causing frustration.” Id. In addition, the TCPA places prohibitions on companies that

“abandon” calls by setting “the predictive dialers to ring for a very short period of time before
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disconnecting the call; in such cases, the predictive dialer does not record the call as having been

abandoned.” Id.

         12.   Defendant’s telephone system(s) have some earmarks of a predictive dialer.

         13.   When Plaintiff answered calls from Defendant, he heard a prerecorded message

before Defendant’s telephone system would connect him to the next available representative.

         14.   Defendant continued to place automated calls to Plaintiff’s cellular telephone

number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

was made in knowing and/or willful violation of the TCPA, and subject to treble damages

pursuant to 47 U.S.C. § 227(b)(3)(C).

         15.   The telephone number called by Defendant was and is assigned to a cellular

telephone service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

         16.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

calls.

         17.   The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

         18.   Plaintiff is entitled to an award of $500.00 in statutory damages for each call

placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

         19.   As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

               A. Statutory damages of $500.00 for each violation determined to be negligent

                   pursuant to 47 U.S.C. § 227(b)(3)(B);
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             B. Treble damages for each violation determined to be willful and/or knowing

                pursuant to 47 U.S.C. § 227(b)(3)(C); and

             C. Such other and further relief as may be just and proper.

                   TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: December 4, 2018
                                           Respectfully submitted,

                                           By: /s/ Sergei Lemberg
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